
12 N.Y.2d 911 (1963)
In the Matter of the Accounting of Alfred Goldberg, as Administrator of The Estate of Jacob Goldberg, Deceased, Appellant. Anna Kramer, Respondent.
Court of Appeals of the State of New York.
Submitted January 7, 1963.
Decided January 23, 1963.
Anna E. Gassner for appellant.
Milton M. Kase and Abraham B. Goldner for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, FOSTER and SCILEPPI.
Appeal from the order of affirmance affirmed, without costs. Appeal from the order of dismissal dismissed for nonfinality. No opinion.
